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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA

IN RE:                                            CASE NO. 19-24331-BKC-JKO
                                                  CHAPTER 13
RALPH LEVI SANDERS, JR.
__________________________/

                    NOTICE OF COMPLIANCE BY ATTORNEY FOR DEBTOR
                 WITH LOCAL RULE 2083-1(B) CLAIMS REVIEW REQUIREMENT

        The undersigned attorney for Debtor hereby certifies that a review of the claims register
and all claims filed in the above referenced case has been completed in accordance with Local
Rule 2083-1(B) and that:

1)            No further action is necessary.

2)       The following actions have been taken:

              The debtor has filed an objection to the proof of claims filed by Westside Regional
               Medical Center (Claim 1-1) and the Department of the Treasury- Internal Revenue
               Service (Claim 3-1).

              The debtor has filed a        amended plan or modified plan to provide for the
               proof of claim filed by _________________________________.

              Other:

                                                                        .

      A copy of this certificate of compliance was served on the chapter 13 trustee and the debtor
on February 7, 2020.

 Dated: February 7, 2020
                                                   Law Offices of Michael H. Johnson
                                                   Attorneys for Debtor
                                                   3601 W. Commercial Blvd., Suite 31
                                                   Ft. Lauderdale, FL 33309
                                                   (954) 535-1131
                                                   (954) 641-7750 fax

                                                   By:_/s/ Michael H. Johnson___
                                                      Michael H. Johnson, Esq.
                                                      Florida Bar No. 0149543

                                                    I HEREBY CERTIFY THAT I AM ADMITTED TO THE BAR OF THE
                                                    UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
                                                    OF FLORIDA AND I AM IN COMPLIANCE WITH THE ADDITIONAL
                                                    QUALIFICATIONS TO PRACTICE IN THIS COURT SET FORTH IN
                                                    LOCAL RULE 2090-1(A).
